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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  ADAPTIVE SPECTRUM AND SIGNAL
  ALIGNMENT, INC.,

                      Plaintiff,

         v.                                           Case No.: 2:24-cv-124-JRG-RSP

  CHARTER COMMUNICATIONS, INC.,

                      Defendant.



      JOINT MOTION TO AMEND THE SECOND DOCKET CONTROL ORDER

       Plaintiff Adaptive Spectrum and Signal Alignment, Inc. (“ASSIA”) and Defendant

Charter Communications, Inc.1 (“Charter” and collectively the “Parties”) jointly and respectfully

request that the Court extend the end of fact discovery and subsequent deadlines, as reflected in

the Third Amended Docket Control Order attached hereto.

       Specifically, the Parties seek to extend the deadlines for (1) the Parties to Complete Fact

Discovery and File Motions to Compel Discovery, from April 15, 2025 to May 13, 2025;

(2) ASSIA to serve its Final Election of Asserted Claims pursuant to the Order Focusing Patent

Claims and Prior Art to Reduce Costs, from April 15, 2025 to May 13, 2025; (3) the Parties to

Exchange Privilege Logs, from April 22, 2025 to May 20, 2025; (4) Charter to serve its Final

Election of Asserted Prior Art pursuant to the Order Focusing Patent Claims and Prior Art to

Reduce Costs, from April 29, 2025 to May 20, 2025; (5) the Parties to Serve Disclosures for



1 ASSIA agreed to dismiss its claims against Defendants Charter Communications Operating,

LLC, Charter Communications Holding Company, LLC, and Spectrum Management Holding
Company, LLC in this case. Dkt. 80 in Case No. 2:24-cv-00029-JRG-RSP.




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Expert Witnesses by the Party with the Burden of Proof, from April 29, 2025 to May 20, 2025;

(6) the Parties to Serve Disclosures for Rebuttal Expert Witnesses, from May 27, 2025 to June

20, 2025; (7) the Parties to Complete Expert Discovery, from June 10, 2025 to July 1, 2025;

(8) the Parties to File Dispositive Motions, from June 16, 2025 to July 8, 2025; (9) the Parties to

File Motions to Strike Expert Testimony, from June 16, 2025 to July 8, 2025; (10) the Parties to

Serve Pretrial Disclosures, from July 10, 2025 to July 15, 2025; (11) the Parties to Serve

Objections to Pretrial Disclosures and Serve Rebuttal Pretrial Disclosures, from July 22, 2025 to

July 28, 2025; (12) the Parties to Serve Objections to Rebuttal Pretrial Disclosures, from July 29,

2025 to August 4, 2025; and (13) the Parties to File Motions in Limine, from July 29, 2025 to

August 4, 2025.

       The Parties have good cause to extend the deadline to complete fact discovery. Following

the filing of Charter’s initial Motion to Dismiss or to Transfer Venue (’029 Action, Dkt. 47), the

parties engaged in four months of venue and transfer-related discovery. Though the parties made

progress during that time and resolved Charter’s Rule 12(b)(3) motion to dismiss for improper

venue (see ’029 Action, Dkt. 80), transfer-related discovery did not close until August 29, 2024,

and the briefing of the renewed Motion to Transfer and to Dismiss did not conclude until

October 21, 2024. See Dkt. 46.

       At the same time, the Parties have been pursuing discovery regarding the substantive

claims and defenses in the case. The Parties determined that there were a vast number of third

parties with information relevant to the Parties’ claims and defenses, resulting in additional

complexity in providing notice and obtaining approval before certain documents and source code

could be produced. Specifically, ASSIA served 19 subpoenas directed to third parties, and Charter

served 20. Declaration of Elle X. Wang in Support of the Joint Motion to Amend The




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Second Docket Control Order, ¶¶ 3-4. Charter additionally sent 91 notice letters to various third

parties to obtain their consent to Charter’s production of documents containting those third

parties’ confidential information. Id., ¶ 5. The Parties needed the necessary documents and

consents from third parties before beginning email discovery under the ESI Order (Dkt. 49) and,

therefore, the Parties were unable to negotiate search terms or start reviewing email discovery

until very recently. This unavoidable delay in document and email production has prevented

either Party from taking merits-based depositions to date.

          Additionally, Charter has recently made substantial document productions after the

Parties were able to resolve ASSIA’s motion to compel by agreement and as Charter has

obtained constent to produce certain materials. Further, because ASSIA is asserting five patents

against a large number of Charter’s products and services that implicate multiple accused

functionalities, Charter estimates that it will be presenting a large number of witnesses for

deposition. Therefore, both Parties need additional time to complete fact discovery.

          This extension is not sought for prejudice or delay, but for good cause and so that justice

may be served. The proposed schedule maintains the current trial date, but seeks to extend the

other dates to provide the Parties with the time they need to complete fact discovery and then

comply with the remaining deadlines in the case.

          The Parties met and conferred to discuss the proposed extensions of the deadlines

requested in this Motion and are jointly seeking the relief sought herein. Accordingly, the Parties

respectfully request that the Court grant this Joint Motion and enter the proposed order attached

hereto.




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 Dated: March 14, 2025                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2025, the above was filed with the Court’s ECF system

which will send notification of such filing to all registered participants.

                                               /s/ David Eiseman
                                                David Eiseman



                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Plaintiff met and conferred with all

counsel of record pursuant to Local Rule CV-7(i), and this is a joint submission.

                                               /s/ David Eiseman
                                                David Eiseman




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